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                                            UNITED STATES DISTRICT COURT
                                             DISTRICT OF MASSACHUSETTS

TRUSTEE WRIT                                                                                      Case No.
                                                                              , Plaintiff(s)

                                                              V.

                                                                              , Defendant(s)


                                                                              , Trustee

                                                  SUMMONS TO TRUSTEE
To the above-named Trustee:

         You are hereby summoned and required to file, within 20 days after service of this summons upon you, exclusive
of the day of service, a disclosure under oath of what goods effects or credits, if any, of the defendant
                                of                                                                               , are in your
hands or possession at the time of the service of this summons upon you which may be taken on execution issued upon
such judgment, if any, as the plaintiff,                                     , of
                                 , whose attorney is                                                           , of
                                                                                 may recover in an action brought against
the said defendant in this Court to the value of $                                    (the amount authorized). Such goods,
effects or credits are hereby attached. If you do not do so, judgment by default will be taken against you and you will be
adjudged trustee as alleged.

        The complaint in this case was filed on                                                . This attachment was approved on
                               by                                      , in the amount of $                                 .

         If the credits of the said defendant which are in your hands or possession include wages for personal labor or personal
services of said defendant, you are hereby notified that an amount not exceeding $125.00 per week of such wages are exempt
from this attachment and you are directed to pay over such exempted amount to said defendant in the same manner and at
the same time as each such amount would have been paid if this attachment had not been made.

        If the said credits include a pension payable to said defendant which is not otherwise exempt by law from attachment,
you are hereby notified that an amount not exceeding $100.00 for each week which has elapsed since the last preceding
payment under such pension was payable to said defendant, and $100.00 per week hereafter, are exempt from this attachment
and you are directed to pay over such exempted amounts to said defendant in the same manner and at the same time as each
such amount would have been paid if this attachment had not been made.

        If you are a trust company, savings bank, cooperative bank, credit union, national banking association, or any other
banking institution doing business in the Commonwealth, and if the credits of the said defendant in your hands include an
account or accounts in the name of any natural person, you are hereby notified that pursuant to Massachusetts General Laws,
c.246, Section 28A, $2,500.00 owned by the said defendant (if a natural person) are exempt from this attachment (a joint
account to be treated for this purpose as if each depositor owned one-half of the amount thereof). No business, trust, or
organization shall be entitled to this exemption, and no natural person shall be entitled to more than a $2,500.00 exemption
at any one time.

Dated this           day of                                        .
                                                                                          ROBERT M. FARRELL
                                                                                          CLERK OF COURT

                                                                               By:
                                                                                          Deputy Clerk
